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          and Gene A. Nelson in
      6   Case No. 3:19-cv-04171-JCS

      7

      8                            UNITED STATES DISTRICT COURT

      9                         NORTHERN DISTRICT OF CALIFORNIA

     10

     11   UNITED STATES OF AMERICA,                         Case No. CR 14-00175 WHA

     12                                Plaintiff,           Related Case:
                                                            Case No. 3:19-cv-04171-JCS
     13          V.


     14
          PACIFIC GAS AND ELECTRIC                          ADMINISTRATIVE MOTION
                                                            PURSUANT TO CIVIL L.R. 7-11 AND
     15   COMPANY,                                          PROPOSED ORDER TO CONSIDER
                                                            WHETHER CASES SHOULD BE
     16                                Defendant.           RELATED UNDER CIVIL L.R. 3-12;
                                                            AND PROPOSED ORDER THEREON
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          ADMINISTRATIVE MOTION TO CONSIDER                                         CASE NO. CR 14-00175 WHA
          WHETHER CASES SHOULD BE RELATED; PROPOSED ORDER
